      Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 1 of 22 PageID #:1



                       IN THE UNITED DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
Ernestina Moreno and Agnieszka K. Sobczyk,       )
individually                               )
and on behalf of all persons               )
similarly situated                         ) CASE NO 16 CV 9519
as collective representatives under        )
under the Fair Labor Standards Act         )
and as Class Representatives for Class     )
Action under IWPCA;                        )
                                           )
                               Plaintiffs, )
                vs.                        )
DEV Medical Associates S.C..               )
                                           )     JURY TRIAL DEMANDED
                                           )           ON ALL COUNTS
                               Defendant.  )

                    CLASS AND COLLECTIVE ACTION COMPLAINT


NOW COMES the Plaintiffs, Ernestina Moreno and Agnieszka K. Sobczyk, individually and on

behalf of all others similarly situated, as class and/or collective representatives, by and through

their undersigned counsel of record, upon personal knowledge as to those allegations in which

they so possess and upon information and belief as to all other matters, pursuant to §216(b) of

the Fair Labor Standards Act (hereinafter “FLSA”), the Illinois Minimum Wage Law 820 ILCS

105/1 et seq (hereinafter “IMWL” ) Illinois Wage Payment and Collection Act 820 ILCS 115/1

et seq. (West 2002)) (hereinafter “IWPCA” ) and bring these causes of action against Defendant

DEV Medical Associates S.C. (Hereinafter referred to as “DEV”) and in so doing states the

following:

                                  NATURE OF THE ACTION

       1.    Plaintiff, Ernestina Moreno, alleges and will prove individually and on behalf of

               herself and other similarly situated current, former and future employees of the


                                                  1
      Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 2 of 22 PageID #:2



                 Defendant, (Hereinafter references to “Plaintiff” are inclusive of both Individual

                 Plaintiffs and those employees that are similarly situated to the Individual

                 Plaintiffs) that she, under both federal and state wage laws, is entitled to be paid

                 for all hours worked and to receive time and half for all hours worked over forty

                 (40) hours per week. Plaintiff also alleges and will prove that the Defendant DEV

                 violated the IWPCA by failing to pay wages in a timely manner, by delaying

                 payment beyond the mandated payment of wages every 14 days.

        2.    Plaintiff, Agnieszka K. Sobczyk, alleges and will prove individually and on behalf of

                 herself and other similarly situated current, former and future employees of the

                 Defendant, (Hereinafter references to “Plaintiff” are inclusive of both Individual

                 Plaintiffs and those employees that are similarly situated to the Individual

                 Plaintiffs) that she, under both federal and state wage laws, is entitled to be paid

                 for all hours worked and to receive time and half for all hours worked over forty

                 (40) hours per week1. Plaintiff also alleges and will prove that the Defendant DEV

                 violated the IWPCA by failing to pay wages in a timely manner, by delaying

                 payment beyond the mandated payment of wages every 14 days.

        3.    Plaintiff, Sobczyk, also alleges and will prove that her employment termination was

                 a retaliation for Plaintiff’s demands for payment of her overtime wages in accord

                 with the FLSA and/or the IMWL and/or timely payment in accord with the

                 IWPCA.




1
 Plaintiff acknowledges that DEV paid Plaintiff Sobczyk’s overtime wages after repeated demands for payment of
her overtime wages, however, Defendant failed to pay any applicable interest, or penalties due to her under the
IWPCA and/or IWML, due to the lengthy delay in payment of those overtime wages.


                                                       2
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 3 of 22 PageID #:3



 4.     Plaintiffs’ Collective Action addresses DEV’s failure to pay overtime wages to

        Plaintiff and other similarly situated employees for all time worked in excess of

        40 hours in individual work weeks.

                      FAILURE TO PAY OVERTIME CLAIM FACTS

 5.   Defendant’s failure to pay overtime wages occurs because Defendant simply refuses

        to pay overtime.

 6.   Plaintiffs and the FLSA Collective are not paid time and a half for work beyond

        forty hours, rather Defendant employees including Plaintiffs are paid straight time

        for hours over forty in a week.

 7.   When Plaintiff Sobczyk asked about why the Defendant failed to pay her overtime

        wages for overtime work, the response by the employer (specifically DEV agent

        Alice Perkins) was that the employer “was not covered by overtime laws” due to

        having “less than twenty-five (25) employees”.

 8.   This alleged exemption from overtime laws, (having less than 25 employees) does

        not exist under the FLSA nor the IMWL.

 9.   On May 16, 2016 at 7:02 PM, Plaintiff Sobczyk emailed Ms. Perkins and informed

        her that DEV’s claim of exemption from overtime laws for having less than 25

        employees did not exist and Plaintiff Sobczyk again reasserted her right to receive

        overtime wages.

 10. On May 17, 2016, the next day, Plaintiff was fired for having asked for her overtime

        wages.

                                    WAGE DELAY CLAIM




                                          3
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 4 of 22 PageID #:4



 11. Defendant also fails to pay wages in a timely manner, paying its employees on a

        monthly basis, when the IWPCA and FLSA require payment on a more frequent

        basis (IWPCA requires payment on a “semi-monthly basis”).

 12. DEV’s policy and practice was to pay its employees their compensation once per

        month (monthly).

 13. The IWPCA however requires payment on a semi-monthly basis, or twice a month.

 14. The relevant provisions of the IWCPA read as follows:

 Every employer shall be required, at least semi-monthly, to pay every employee all
 wages earned during the semi-monthly pay period.(820 ILCS 115/3) (from Ch.
 48, par. 39m-3)




 15. On May 16, 2016 at 702 PM Plaintiff Sobczyk emailed Ms. Perkins and informed

        her that the Defendant was also in violation of the IWPCA requirement to pay on

        a semi-monthly basis.

 16. The next day Plaintiff was terminated for asking for timely payment under the

        IWPCA.

 17.    This action is also brought as a collective action under the Fair Labor Standards

        Act (“FLSA”), 29 U.S.C. §§ 201, 207 and 216(b) to recover unpaid wages for

        overtime pay which was not compensated at the proper rate of pay, rate of pay to

        include all compensation.

 18.    Plaintiffs’ federal FLSA claims are brought as “opt-in” collective action claims

        pursuant to the FLSA.

 19.    Plaintiffs, in their claims, request injunctive and declaratory relief, and

        compensation and credit for all uncompensated work required, suffered, and/or

        permitted by Defendants, liquidated and/or other damages as permitted by


                                        4
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 5 of 22 PageID #:5



       applicable law, restitution and payment of all benefits Defendant obtained from

       their unlawful business practices and attorneys’ fees and costs.

 20.   This action is brought as a class action pursuant to Illinois Wage Payment and

       Collection Act 820 ILCS 115/1 et seq. (West 2002)) (“IWPCA” ).

 21.   The class period for the IWPCA Class due to Defendant’s untimely wage

       payments would include all untimely payments made for 10 years, from 2016 to

       2006. Thus the number of employees in the class is easily over 100 given the high

       rate of turnover for Defendant employees.

 22.   A class action is superior to other available methods for the fair and efficient

       adjudication of the controversy – particularly in the context of this litigation

       where no individual employee can justify the commitment of the large financial

       resources to vigorously prosecute a lawsuit in Federal Court against the corporate

       Defendant.



                        JURISDICTION AND VENUE

 23.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. 1331 and 1337

       and supplemental jurisdiction over Plaintiff state law claims pursuant to 28 U.S.C

       1332 and 1367. This Court has subject matter jurisdiction pursuant to 28 U.S.C.

       1331 based on 29 U.S.C. 216(b) known as the Fair Labor Standards Act.

 24.   This court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

       to 28 U.S.C 1332 and 1367 and Plaintiff seeks application of the Illinois

       Minimum Wage Law, 820 ILCS 105/1 et seq. (“IMWL”)Illinois Wage Payment

       and Collection Act 820 ILCS 115/1 et seq. (West 2002))(“IWPCA” ).




                                        5
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 6 of 22 PageID #:6



 25.   The Court is authorized to issue a declaratory judgment.

 26.   Venue is proper in this Court.

 27.   Defendant does business and is a resident of this District and Division of Federal

       Court.

                      FACTS REGARDING THE PLAINTIFFS

 28.   Plaintiffs, Moreno and Sobczyk,, are residents of the State of Illinois.

 29.   Plaintiffs worked as employees of the Defendant.

 30.   Plaintiffs were paid on an hourly basis and was classified as non-exempt.

                            DEFENDANT CORPORATE FACTS

 31.   Defendant DEV Medical Associates S.C (Hereinafter referred to as “DEV”) is a

       corporation or business which does business in Illinois.

 32.   DEV is a medical provider.

 33.   Defendant DEV has 2 locations in Illinois but sees patients at more than those two

       facilities.

 34.   DEV doctors are Cardiologists, Cardiovascular Disease Practitioners, Internists,

       Interventional Cardiologists.

 35.   DEV is a Group Practice, with four physicians in the group.

 36.   Defendant’s employs at least 10 hourly employees at its two locations.

 37.   From 2016 to 2006 DEV employed over 100 employees.

                     COLLECTIVE ACTION ALLEGATIONS

                              The FLSA Collective Action

 38.   Plaintiffs bring claims for relief for violation of the FLSA as a collective action

       pursuant to Section 16(b) of the FLSA (29 U.S.C. § 216(b), on behalf of all




                                         6
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 7 of 22 PageID #:7



       employees of DEV who were, are, or will be employed by DEV during the period

       of three (3) years prior to the date of commencement of this action through the

       date of judgment in this action, who were not compensated at one-and-one-half

       times their regular rate of pay for all work performed in excess of forty (40) hours

       per work week.

 39.   FLSA violation claims are brought and maintained as an “opt-in” collective action

       pursuant to § 16(b) of FLSA, 29 U.S.C. § 216(b), for all FLSA claims asserted by

       the Plaintiffs, since the FLSA claims of the Plaintiffs are similar to the FLSA

       claims of all hourly employees employed by DEV who were not paid overtime,

       rather were paid straight time only for overtime work hours.

 40.   Defendant is liable for improperly compensating Plaintiffs and FLSA Collective

       under the FLSA, and as such notice should be sent to the FLSA Collective. There

       are numerous similarly situated current and former employees of DEV who have

       been denied payment of the overtime wages for overtime work hours. These

       current, former and future employees would benefit from the issuance of a court

       supervised notice of the present lawsuit and the opportunity to join in the present

       lawsuit. The similarly situated employees are known to Defendant and are readily

       identifiable through Defendant’s records.



                          STATEMENT OF FACTS

A.       DEV policies and procedures and Compensation Practices fail to pay
         overtime work at overtime rate of pay




                                        7
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 8 of 22 PageID #:8



 41.   Plaintiffs were employed by DEV as employees of the Defendant and Plaintiffs

       worked beyond forty hours in a work-week, but Defendants failed to pay overtime

       due to its policy and procedure of not paying overtime wages at an overtime rate

       of pay.

 42.   Plaintiffs worked as an hourly non-exempt employees.

 43.   Plaintiff Sobczyk was paid $15.00 per hour for all hours worked less than 40

       hours.

 44.   Plaintiff Sobczyk should have been paid $22.50 per hour for all hours over 40

       hours.

 45.   However, Plaintiff was paid only $15.00 per hour for all work hours.

 46.   During the short time Plaintiff Sobczyk worked for DEV she worked 2.75 hours

       of overtime.

 47.   Defendant failed to pay Plaintiff Sobczyk the overtime rate until weeks after the

       work was done, and only after Plaintiff demanded the payment.

 48.   Defendant finally paid the Plaintiff’s owed 2.75 hours of overtime, after

       terminating her for asking for those overtime pay.

 49.   However Defendant failed to pay Plaintiff Sobczyk for the delay in payment,

       either under the FLSA liquidated damages provisions nor the IWML 2% penalty

       provisions.

 50.   Plaintiff Tina Moreno on the other hand, still works for Defendant and still has

       not been paid any overtime hours at an overtime rate of pay.




                                        8
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 9 of 22 PageID #:9



 51.     Plaintiff Moreno worked for the Defendant for several years and worked overtime

         hours many times, and was never paid overtime during any of those weeks of

         work.

 52.     The Defendant’s unlawful conduct was and is not inadvertent, de minimis,

         isolated or sporadic, but widespread, repeated and part of a pattern and practice of

         conduct affecting all Defendants’ employees.

 53.     Defendant’s consented, were knowledgeable of that they were not paying the

         overtime rate of pay.

 54.     Plaintiffs and the Collective employees were not paid the proper rate of overtime

         wages.

 55.     This is a FLSA violation because the Plaintiffs worked beyond forty (40) hours,

         thus Plaintiffs are owed time-and-half of their regular pay for ALL hours beyond

         40 hours.

 56.     Further this also a violation of the Plaintiffs’ rights under Illinois Minimum Wage

         law and Illinois over-time wage law.

 57.     The FLSA defines the "regular rate" as all remuneration for employment paid to

         or on behalf of the employee, before any deductions from wages are made. (See

         29 U.S.C. §207(e); 29 C.F.R. §778.109.)

       DEV’s Actions were Willful, Knowledgeable and/or Had Reckless Disregard
                                for FSLA Regulations


 58.     DEV required and permitted Plaintiffs and the FLSA Collective, to work more

         than 40 hours in a week. DEV did not pay Plaintiffs and the FLSA Collective the

         proper overtime rate for all of these overtime hours.




                                          9
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 10 of 22 PageID #:10



  59.   DEV unlawful conduct has been uniform, widespread, repeated and consistent.

  60.   DEV’s willful violations are especially demonstrated by their knowledge that its

        employees were not paid overtime rate of pay.

  61.   While Defendant claims an exemption due to the small size of the employer, the

        Defendant’s claims of ignorance do not negate its willful violation, as the

        Defendant had a duty to assess and understand correctly its legal obligations

        under the law.

  62.   All allegations and claims alleged herein should be read in the alternative, to the

        extent such an interpretation is necessitated by law and permitted under Federal

        Law, Illinois Law and other state laws.

  63.   All allegations plead herein are plead with personal knowledge as to those

        allegations to which Plaintiffs have such knowledge and based upon “information

        and belief” as to all other allegations.

                           FIRST CLAIM FOR RELIEF
                        Individual claims Against Defendant
                   Under the Illinois Minimum Wage Law “IMWL”


  64.   Plaintiffs reallege and incorporate by reference all the paragraphs of this

        Complaint, as if fully set forth herein.

  65.   Plaintiffs are/were employees of the Defendant pursuant to the IMWL.

  66.   Plaintiffs are/were employed by DEV as hourly employees.

  67.   It is and was at all relevant times, a policy of DEV to not pay its employees for

        overtime work at an overtime rate of pay.




                                          10
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 11 of 22 PageID #:11



  68.   The Defendant unlawful conduct was and is not inadvertent, de minimis, isolated

        or sporadic, but widespread, repeated and part of a pattern and practice of conduct

        affecting all of the Defendant’s hourly employees.

  69.   As a result of the foregoing, Plaintiffs have been damaged in an amount to be

        determined at trial.

  70.   Illinois law contains a three-year statute of limitations regardless of whether the

        violation was willful. 820 ILCS 105/12(a).

                                     SECOND CLAIM

               On Behalf of Plaintiffs Individually
             and For All Opt-In Employees Against
                       Defendant DEV
                    As a Collective Action
             (FLSA Claims, 29 U.S.C. § 201 et seq.)


  71.   Plaintiffs reallege and incorporate by reference all the paragraphs of this

        Complaint, as if fully set forth herein.



  72.   The Plaintiffs’ Collective claims include all plead claims found in this complaint

        which fall within the coverage of FLSA.

  73.   The Collective claims include all hourly employees which Defendant has failed to

        pay at an overtime rate of pay for overtime hours of work.

  74.   At all relevant times, Defendant DEV has been, and continues to be, an

        “employer” engaged in interstate commerce and/or in the production of goods for

        commerce within the meaning of the FLSA, 29 U.S.C. § 203. At all relevant

        times, Defendant has employed, and continues to employ, “employee[s],”

        including the Plaintiffs, and each of the members of the FLSA Opt-Ins, that have



                                          11
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 12 of 22 PageID #:12



        been, and continue to be, engaged in interstate “commerce” within the meaning of

        the FLSA, 29 U.S.C. § 203.

  75.   At all relevant times, Defendant has had gross operating revenues in excess of

        Five Hundred Thousand and no/100 Dollars ($500,000.00).

  76.   At all relevant times, the work performed by hourly employees including the

        Plaintiff and prospective FLSA Opt-Ins, employed at Defendant were, and

        continue to be, required or permitted by Defendant, for the benefit of Defendant,

        directly related to such employees’ principal employment with Defendant, and as

        an integral and indispensable part of such employees’ employment of Defendant.

  77.   As a result of the Defendant’s willful failure to record, report, credit, and/or

        compensate its employees employed by Defendant, including the Plaintiffs and

        members of the prospective FLSA Class, Defendant has failed to make, keep and

        preserve records with respect to each of their employees sufficient to determine

        the wages, hours and other conditions and practices of employment in violation of

        the FLSA, including 29 U.S.C. §§211(c) and §§ 215(a).

  78.   The foregoing conduct, as alleged, violated the FLSA, 29 U.S.C. §§ 201 et seq.

  79.   Plaintiffs, on behalf of themselves and all FLSA Opt-Ins, seek damages in the

        amount of their respective unpaid compensation, plus liquidated damages, as

        provided by the FLSA, 29 U.S.C. § 216(b), and such other legal and equitable

        relief as the Court deems just and proper.

  80.   Plaintiffs, on behalf of themselves and all FLSA Opt-Ins, seek recovery of

        attorneys’ fees and costs of action to be paid by Defendant, as provided by the

        FLSA, 29 U.S.C. § 216(b).




                                         12
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 13 of 22 PageID #:13



  81.    Plaintiffs have consented to be a parties to this action, pursuant to 29 U.S.C. §

         216(b).

  82.    At all times relevant to this action, Plaintiffs and all FLSA Opt-Ins were

         employed by Defendant within the meaning of the FLSA.

  83.    At all times relevant to this action, Plaintiffs and all FLSA Opt-Ins were engaged

         in commerce and/or the production of goods for commerce and/or Defendant

         were an enterprise engaged in commerce or in the production of goods for

         commerce within the meaning of 29 U.S.C. §§ 206(a) and 207(a).

  84.    Due to Defendant’s FLSA violations, Plaintiff and all FLSA Opt-Ins are entitled

         to recover from Defendant their unpaid compensation, an additional equal amount

         as liquidated damages, additional liquidated damages for unreasonably delayed

         payment of wages, reasonable attorneys’ fees, and costs of the action, pursuant to

         29 U.S.C. § 216(b)§ 6 of the Fair Labor Standards Act, 29 U.S.C.A. § 206, 9 FCA

         title 29, § 206, provides that every employer shall pay to each of his employees

         who is engaged in interstate or foreign commerce or in the production of goods

         for such commerce, wages at specified hourly rates.



                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of the FLSA Collective,

  pray for the following relief:

         A.        That, at the earliest possible time, the Plaintiffs be allowed to give notice

  of this collective action, or that the Court issue such notice, to all persons who are

  presently, or have at any time during the three years immediately preceding the filing of




                                            13
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 14 of 22 PageID #:14



  this suit, up through and including the date of this Court’s issuance of Court-supervised

  notice, to hourly employees whom have been employed by the Defendants whom were

  not paid overtime rate of pay for overtime work hours. Such notice shall inform them that

  this civil action has been filed, of the nature of the action, and of their right to join in this

  lawsuit if they believe they were not paid all wages for work performed.

          B.      Unpaid wages and liquidated damages pursuant to 29 U.S.C. § 201 et seq.

  and the supporting an Illinois Department of Labor and United States Department of

  Labor regulations, including 2% per month penalty under the IWML.

          C.      Unpaid regular wages, and overtime wages pursuant to the IMWL other

  state wage laws;

          D.      Compensation originating from DEV company policies, contractual

  obligations and ERISA requirements owed as a result of unpaid overtime wages;

          E.      An injunction requiring Defendant to pay all statutorily-required wages

  pursuant to Illinois Law;

          F.      Certification of this case as a Collective action;

          G.      Designation of the Plaintiffs as representative of the Collective, and

  counsel of record as Collective Counsel;

          H.      Designation of the Counsel of record as Collective Counsel;

          I.      Issuance of a Declaratory Judgment that the practices complained of in

  this Complaint are unlawful under Illinois Law, 820 ILCS 105/1 et seq. and supporting

  Illinois Department of Labor regulations and other state wage laws;

          J.      Attorneys’ fees and costs of this action in accordance with FLSA and

  Illinois Wage Laws; and




                                             14
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 15 of 22 PageID #:15



         K.     Unpaid wages and liquidated damages pursuant supporting Illinois

  Department of Labor regulations;

         L.     Consequential damages;

         M.     and costs of this action; and

         N.     Such other relief as this Court shall deem just and proper.

                               THIRD CLAIM FOR RELIEF

                     Individual and Class Claims brought under
              Under Illinois Wage Payment and Collection Act “IWPCA”


  85.    Plaintiffs reallege and incorporate by reference all the paragraphs of this

         Complaint, as if fully set forth herein.

  86.    Plaintiffs are/were employed by Defendant.

  87.    This Count is brought on behalf of Plaintiff and a proposed class of all current and

         former hourly and salaried employees who worked at Defendant for the 10 year

         period before this Complaint was filed.

  88.    This count arises from DEV’s violation of the IWPCA, 820 ILCS § 115/4 and 820

         ILCS 115/5.

  89.    820 ILCS § 115/4 provides in part that “[a]ll wages earned by any employee

         during a semi-monthly or bi-weekly pay period shall be paid to such employee

         not later than 13 days after the end of the pay period in which such wages were

         earned.”

  90.    The DEV Payment Schedule results in payment to Plaintiff and substantially all of

         its employees of compensation once per month. On the 1th of each month,

         employees are paid for work performed from the prior month.




                                           15
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 16 of 22 PageID #:16



  91.   As a result of the DEV Payment Schedule, employees are paid up to 30 days (the

        exact number of days depends on the length of the month) after the end of the pay

        period in which such wages are earned.

  92.   When employees stop working at DEV, they must wait for up to 36 days before

        receiving their final paycheck. For example, if an employee’s last pay period were

        on January 1, the employee would not be paid for that day until February 1.

  93.   Section 5 of the IWPCA provides that “every employer shall pay the final

        compensation of separated employees in full, at the time of separation, if possible,

        but in no case later than the next regularly scheduled payday for such employee.”

  94.   DEV does not pay its employees (including the Plaintiff) in full, at the time of

        separation.

  95.   At the time of separation, DEV also does not pay its employees (including the

        Plaintiff) by the next regularly scheduled payday for the work that they

        performed.

  96.   Upon information and belief, the DEV Payment Schedule has resulted in

        hundreds of DEV employees receiving in excess of 10,000 paychecks more than

        13 days after the end of the pay period in which their wages were earned.

  97.   As a result of DEV’s policy and practice of withholding pay in violation of the

        law, Plaintiff and similarly situated employees have been damaged in that they

        have not received wages due to them pursuant to the IWPCA when the payments

        are due.

  98.   820 ILCS 115/14 provides the Plaintiff with statutory damages of 2% per month

        for when payments were not made and costs and all reasonable attorney’s fees




                                         16
    Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 17 of 22 PageID #:17




Wherefore Plaintiff asks the Court enter a finding that

       a) Certification of a class of Plaintiffs defined as “hourly and salaried employees of

             DEV who worked for Defendant DEV in the state of Illinois at any time during the

             ten years preceding the filing of this complaint”;

       b) A declaratory judgment that DEV has violated the payment provisions of the

             IWPCA as to the Plaintiff and the Class;

       c) A judgment to Plaintiff and the Class of all statutory and actual damages as

             provided by IWPCA including prejudgment interest as provided by law and 2%

             penalty for failure to pay wages in a timely manner;

       d) Judgment to Plaintiff and the Class of reasonable attorney’s fees;

       e) Costs incurred in filing this action; and

       f) Such other and further relief as is just and right.



                                     FOURTH CLAIM FOR RELIEF

                        VIOLATION OF THE FAIR LABOR STANDARDS ACT
                         – Retaliation Plaintiff Individually for Plaintiff Sobczyk -


       99.      Plaintiff Sobczyk realleges and incorporate by reference all the paragraphs of this

                Complaint, as if fully set forth herein.

       100.     This count arises from DEV’s violation of the FLSA, 29 U.S.C. § 215, for its

                discharge of Plaintiff Sobczyk shortly after Plaintiff complained about the

                Plaintiff and other employees working overtime hours and not receiving overtime

                pay.




                                                  17
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 18 of 22 PageID #:18



  101.   DEV unlawfully retaliated against Plaintiff Sobczyk for her complaints about the

         illegal employment practices, including those in violation of the FLSA.

  102.   Plaintiff Sobczyk has been damaged as a result of DEV’s unlawful termination of

         her employment.

  103.   Under the FLSA, it is unlawful for an employer to retaliate against an employee

         for exercising his or her legal rights under the FLSA, by asking for payment of

         overtime wages.



         Wherefore Plaintiff asks for relief as follows:

         A.     All owed wages;

         B.     Unpaid wages and liquidated damages pursuant to 29 U.S.C. § 201 et seq.

                and the supporting United States Department of Labor regulations;

         C.     Unpaid regular wages, and overtime wages pursuant to the IMWL and

  other state wage laws;

         D.     Compensation originating from Defendants company policies, contractual

  obligations and ERISA requirements owed as a result of unpaid overtime wages;

         E.     Issuance of a Declaratory Judgment that the practices complained of in

  this Complaint are unlawful under Illinois Law, 820 ILCS 105/1 et seq. and supporting

  Illinois Department of Labor regulations and other state wage laws;

         F.     Attorneys’ fees and costs of this action; and

         G.     Such other relief as this Court shall deem just and proper.

         H.     Legal or equitable relief as may be appropriate to effectuate the purposes

  of section 215(a)(3) of the FLSA, including without limitation employment,




                                          18
      Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 19 of 22 PageID #:19



         reinstatement, promotion, the payment of wages lost and an additional equal amount as

         liquidated damages, and damages for mental and emotional stress.

                I.      Civil remedies include all unpaid compensation, mandatory liquidated

         damages (equal to the amount of the unpaid compensation) equitable relief (such as

         reinstatement) and attorneys' fees. 29 U.S.C. § 216(b).

J.   Punitive damages as set forth at 29 U.S.C. § 216(b) and allows "such legal or equitable relief

as may be appropriate to effectuate the purposes of [the Act] ...."



                                      FIFTH CLAIM FOR RELIEF

                 VIOLATION OF THE FAIR LABOR STANDARDS ACT –
                              PROMPT PAYMENT OF WAGES
      Collective Action – Plaintiff On Behalf Of Plaintiffs And Others Similarly Situated

         104.   Plaintiffs reallege and incorporate by reference all the paragraphs of this

                Complaint, as if fully set forth herein.



         105.   This count arises from DEV’s violation of the FLSA, 29 U.S.C. § 201 et. seq. for

                its failure to promptly pay Plaintiff and other similarly situated employees their

                minimum wages and overtime in a prompt manner.

         106.   Under the FLSA, an employer must promptly pay minimum wages due an

                employee after such wages are earned.

         107.   As a result of the DEV’s Payment Schedule, employees are paid their wages

                between 18 and 21 days (the exact number of days depends on the length of the

                month) after the end of the pay period in which such wages are earned.




                                                  19
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 20 of 22 PageID #:20



  108.   Furthermore, when employees stop working at DEV, they must wait for up to 30

         days before receiving their final paycheck.

  109.   Pursuant to the DEV Payment Schedule, DEV did not pay Plaintiff and similarly

         situated employees their wages owed to them on the next regularly scheduled pay

         period after the period in which the compensation was earned.

  110.   The DEV Payment Schedule results in an unnecessary and unreasonable delay in

         the payment of wages.

  111.   The DEV Payment Schedule was not instituted for a legitimate business purpose.

  112.   To the contrary, it was instituted to allow the delayed payment of wages.

         However, the cash flow needs of DEV do not warrant the imposition of a delayed

         payment schedule that violates the law.

  113.   The DEV Payment Schedule applies to substantially all DEV employee who

         receive regular paychecks.



         WHEREFORE, Plaintiff prays for a judgment against DEV as follows:


         A. Authorization to issue notice pursuant to 29 U.S.C. § 216(b) at the earliest

            possible time to all current and former similarly situated employees of DEV

            during the 3 years immediately preceding the filing of this action, informing

            them that this action has been filed, of the nature of the action, and of their

            right to opt into this lawsuit;

         B. A declaratory judgment that DEV has violated the prompt payment provisions

            of the FLSA 29 U.S.C. § 207 as to the Plaintiff and similarly situated persons

            who opt into this action;



                                              20
Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 21 of 22 PageID #:21



         C. A declaratory judgment that DEV’s violations of the FLSA were willful;

         D. Liquidated damages in an amount equal to the amount owed at the time of

             each late payment and interest;

         E. Reasonable attorney’s fees;

         F. Costs incurred in filing this action; and

         G. Such other and further relief as this Court deems appropriate and just.

             SIXTH CLAIM FOR RELIEF

                Plaintiff Sobczyk Termination Claims brought under
              Under Illinois Wage Payment and Collection Act “IWPCA”


  114.   Plaintiff Sobczyk realleges and incorporate by reference all the paragraphs of this

         Complaint, as if fully set forth herein.

  115.   Plaintiff was an employee of Defendant;

  116.   Plaintiff requested payment of wages in a timely manner: a right granted by the

         IWPCA;

  117.   Plaintiff Sobczyk was discharged and that the discharge was causally related to her

         asking for just payment of wages in a timely manner.

  118.   Plaintiff was damaged as a result of this action.

  119.   As a direct and proximate result of Defendant’s retaliatory discharge Plaintiff has

         sustained damages including lost wages, the value of lost employment benefits,

         emotional distress, pain, suffering and loss of enjoyment of life.

  120.   The retaliatory discharge of Plaintiff’s employment as a result of her protected

         activity violates IWPCA.




                                           21
    Case: 1:16-cv-09519 Document #: 1 Filed: 10/05/16 Page 22 of 22 PageID #:22



       121.   The IWPCA was amended to allow private right of retaliatory discharge effective

              January 1, 2011. See P.A. 96-1407 (effective 1/1/2011).



                 A judgment for all owed wages and lost wages;
                 B. Compensatory and punitive damages:
                 C. Reasonable attorney’s fees;
                 D. Costs incurred in filing this action; and
                 E. Such other and further relief as this Court deems appropriate and just.

                             DEMAND FOR TRIAL BY JURY

       Pursuant to Federal Rules of Civil Procedure, Plaintiff demands a trial by jury on all
questions of fact raised by the Complaint.


Dated: October 5, 2016

                                     Respectfully submitted,

                                     By:            -S-John C. Ireland
                                             John C. Ireland

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                                                22
